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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 EVELINA CALCANO,

                                         Plaintiff,
                                                                      20-CV-8184 (JPO)
                      -v -
                                                                           ORDER
 SWAGS GALORE, INC.,
                                     Defendant.


J. PAUL OETKEN, District Judge:

        This action was filed in this Court on October 1, 2020. (Dkt. No. 1.) The docket does

not indicate that Plaintiff has served Defendant. Rule 4(m) of the Federal Rules of Civil

Procedure requires a defendant to be served with the summons and complaint within ninety days

after the complaint is filed.

        Plaintiff is directed to advise the Court in writing why she has failed to serve the

summons and complaint on Defendant within the ninety-day period, or, if Defendant has been

served, when and in what manner such service was made. If no written communication is

received by January 22, 2021, showing good cause why such service was not made within ninety

days, the Court will dismiss the case.

        SO ORDERED.

Dated: January 12, 2021
       New York, New York

                                                 ____________________________________
                                                            J. PAUL OETKEN
                                                        United States District Judge
